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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Ubiquiti Networks, Inc.
                                       Plaintiff,
v.                                                        Case No.: 1:18−cv−05369
                                                          Honorable Gary Feinerman
Cambium Networks, Inc., et al.
                                       Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, May 28, 2019:


        MINUTE entry before the Honorable Gary Feinerman:Motion to withdraw as
attorney [60] is granted. Attorney Zachary Lazar is terminated as counsel for Plaintiff.
Motion for extension of time [61] is granted. The time for Plaintiff to file an amended
complaint is extended to 6/18/2019. Motion hearing set for 5/30/2019 [62] is stricken. The
status hearing set for 6/11/2019 [54] is stricken and re−set for 6/19/2019 at 9:00
a.m.Mailed notice.(jlj, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
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